               Case 1:18-cv-09415-DCF Document 73
                                               71 Filed 10/21/20
                                                        10/19/20 Page 1 of 1
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                                                             October 19, 2020
Via ECF
Hon. Debra C. Freeman                       The application is granted, and this           Dated: 10/21/2020
United States Magistrate Judge              Court will mark the sanctions motion
United States District Court                as withdrawn without prejudice. The
Southern District of New York               parties are directed to confirm an
500 Pearl Street                            agreed deposition date.
New York, New York 10007

           Re:          Maarv Waterproofing, Inc. v. Ashkenazy Acquisition Corp. et al.
                        Civil Action No. 18-cv-09415-DCF-VM

Dear Magistrate Judge Freeman:

My firm represents defendants Ashkenazy Acquisition Corporation and AAC Cross County Mall
LLC in the above referenced civil action. By letter motion dated October 13, 2020 the plaintiff,
Maarv Waterproofing, Inc., is seeking the imposition of discovery sanctions pursuant to FRCP 37(d)
by reason of the inability of the Defendants to produce Bob Burns, a former employee of the
Defendants, for deposition.

My clients reached out once more to Mr. Burns, who has had a change of heart, and is now willing to
appear voluntarily. I have communicated this to Alan Winkler, Esq., who has indicated that,
assuming Mr. Burns appears, Plaintiff is willing to withdraw the motion.

Accordingly, I respectfully request that Your Honor suspend the motion schedule fixed in the Court’s
October 5, 2020 Order, and permit the reopening of discovery for the limited purpose of permitting
the parties to conduct Mr. Burns’ deposition.

                                                             Very truly yours,

                                                             /s/ J. Ted Donovan
cc: Alan Winkler, Esq.
